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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                            Plaintiff,
   v.                                                           CASE NO. 17-CV-00454-GKF-JFJ

   CASTLE HILL STUDIOS LLC, et al.                              PUBLIC – REDACTED VERSION

                            Defendants.

          DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE
   OF PLAINTIFF’S LOST REVENUE, LOST PROFITS, AND LOST PROFIT DAMAGES

            Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (collectively, “CHG” or “Defendants”), move in limine for an order precluding

   Plaintiff Video Gaming Technologies, Inc. (“VGT”) from introducing any evidence, presenting any

   argument, or referring to any VGT’s claims of lost revenue, lost profits, or lost profit damages at

   trial.

   I.       FACTUAL BACKGROUND

            During discovery in this action, in response to an interrogatory asking Plaintiff to “state with

   specificity the amount and category of damages you are seeking in this action, and how such

   damages are calculated,” VGT stated, inter alia, that it was seeking “actual damages suffered by VGT

   as a result of CHG’s trademark infringement, trade dress infringement, unfair competition,

   misappropriation of VGT’s trade secrets, and misappropriation of VGT’s confidential business

   information,” and that “[c]alculation of such damages will depend on factors including … VGT’s

   revenue lost as a result of CHG’s infringement.” See Plaintiff’s Sixth Supplemental Objections and

   Responses to Defendant Castle Hill Studio LLC’s First Set of Interrogatories (Nos. 1-13), dated

   August 3, 2018 (the last day of discovery), Resp. to Interrogatory 13 (emphasis added) (Exhibit A).

            In his deposition, VGT’s Executive Vice President for Sales, James Starr, testified that he

   could not “
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                                                         .” Deposition of James Starr (“Starr Dep.”) at

   159:14-19 (Exhibit B). On August 2, 2018 – the day before the discovery cutoff – in response to

   CHG’s Rule 30(b)(6) Notice of Deposition of VGT, in which CHG sought VGT’s testimony

   regarding Plaintiff’s claims for monetary damages in this action, VGT designated its Vice President

   of Financial Planning and Analysis, Don Kovach to testify on this subject.

          When referred to VGT’s response to Interrogatory 13, and asked

                                                               Mr. Kovach testified as follows:




   FRCP 30(b)(6) Deposition of VGT (“Kovach 30(b)(6) Dep.”) at 27:15-28:21 (Exhibit C). A week

   later, on August 10, 2018, Plaintiff submitted the Report of its damages expert, Melissa Bennis

   (“Bennis Report”). In that report, the expert expressed no opinions regarding VGT’s lost revenues

   or profits, whatsoever.

          Under the Lanham Act, a plaintiff may seek damages consisting of a defendants’ profits or

   the plaintiff’s own lost profit damages. See 15 U.S.C. 1117(a). Although VGT asserted a claim for


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   its lost profit damages in both its original and First Amended Complaint, during a hearing in this

   case (after the close of discovery) VGT represented to the Court that it had elected to pursue only

   Defendants’ profits as damages, and affirmatively admitted that VGT’s lost revenues and profits are

   not relevant. Defendants accordingly move, in limine, to exclude any and all evidence and argument

   concerning Plaintiff’s lost profits, lost revenues, and lost profits damages.

           During the September 6, 2018, hearing on Defendants’ motion to compel discovery against

   Plaintiff, before Judge Jayne, U.S.M.J., counsel for VGT represented that:

                                                                 See September 6, 2018 Hearing Tr. 34:22-

   23, a true and correct copy of which is attached hereto as Exhibit D. In response, the Court

   observed that :

                                                           Id. at 35:4-6, and specifically asked VGT’s



            Id. at 35:7-8. Counsel for VGT responded:




   Id. at 35:10-13 (emphasis added). Counsel for VGT further asserted at the hearing:




   Id. at 44:17-24 (emphasis added). No clearer admission that VGT “lost revenue” and “lost

   profits” is not “relevant” is possible.




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           As set forth herein, these representations by VGT’s counsel constitute a judicial admission

   that renders all evidence, references to evidence, and argument relating to VGT’s lost revenues, lost

   profits, or lost profits damages irrelevant, and the Court should exclude the same at trial.

   II.     ARGUMENT

           A.      VGT’s Representation that It is Not Seeking Lost Profit Damages is a Judicial
                   Admission

           Judicial admissions are “‘formal, deliberate declarations which a party or his attorney makes

   in a judicial proceeding for the purpose of dispensing with proof of formal matters or of facts about

   which there is no real dispute.’” Asarco, LLC v. Noranda Mining, Inc., 844 F.3d 1201, 1212 Fn. 3 (10th

   Cir. 2017) (quoting U.S. Energy Corp. v. Nukem, Inc., 400 F.3d 822, 833 n.4 (10th Cir. 2005)).

   “Although a judicial admission is not itself evidence, it has the effect of withdrawing a fact from

   contention. A statement made by counsel during the course of trial may be considered a judicial

   admission if it was made intentionally as a waiver, releasing the opponent from proof of fact.” Leon

   v. Fedex Ground Package System, Inc., 163 F. Supp. 3d 1050, 1074 fn. 9 (D.N.M. 2016) (citing Martinez v.

   Bally's Louisiana, Inc., 244 F.3d 474, 476–77 (5th Cir. 2001)).

           VGT’s statements constitute a “deliberate, clear, and unequivocal” waiver and abandonment

   of its damages claim relating to lost profits or lost revenues. Skyline Potato Co. v. Rogers Bros. Farms,

   Inc., 10-CV-02353-WJM-KLM, 2011 WL 2791531, at *5 (D. Colo. July 15, 2011) (citing Matter of

   Corland Corp., 967 F.2d 1069, 1074 (5th Cir. 1992)). These admissions remove the contention that

   Plaintiff’s lost profit damages remain at issue in this matter. Therefore, all evidence regarding

   VGT’s claim of lost revenues, lost profits or lost profits damages should be excluded.

           B.      VGT’s Judicial Admission Renders All Evidence Regarding Lost Profits
                   Irrelevant and Inadmissible

           Relevant evidence is defined as having “any tendency to make a fact more or less probable

   than it would be without the evidence” when “the fact is of consequence in determining the action.”


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   Gaige v. SAIA Motor Freight Line, LLC, 672 Fed. Appx. 787, 790 (10th Cir. 2016). “[A] fact is ‘of

   consequence’ when its existence would provide the fact-finder with a basis for making some

   inference, or chain of inferences, about an issue that is necessary to a verdict,” SFF-TIR, LLC v.

   Stephenson, 250 F. Supp. 3d 856, 1006 (N.D. Okla. 2017), reconsideration denied, 264 F. Supp. 3d 1148

   (N.D. Okla. 2017) (citing United States v. Jordan, 485 F.3d 1214, 1218 (10th Cir. 2007)). “Irrelevant

   evidence is not admissible.” Fed. R. Evid. 402; see also Evans v. Liberty Nat. Life Ins. Co., 13-CV-0390-

   CVE-PJC, 2014 WL 5846730, at *5 (N.D. Okla. Nov. 12, 2014) (citing Fed. R. Evid. 402) (same).

           VGT has relinquished its claim to lost profit damages via judicial admission and specifically

   admitted that VGT’s lost revenues or profits are not “relevant.” See Part II.A., supra. As such, all

   evidence and argument relating to these issues is no longer relevant in this case. In addition,

   admission or discussion of such matters before the jury could unfairly influence the triers of fact,

   and be prejudicial to Defendants. As such, all evidence, argument and references concerning VGT’s

   lost revenues, profits, and lost profit damages should be excluded.

   III.    CONCLUSION

           For the foregoing reasons, CHG respectfully requests that the Court enter an order

   precluding VGT from introducing any evidence, presenting any argument or referring to VGT’s

   claims of lost revenues, lost profits or lost profits damages.




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   Dated: October 12, 2018             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 12th day of October, 2018, I caused a copy of the foregoing
   DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE OF PLAINTIFF’S
   LOST REVENUE, LOST PROFITS, AND LOST PROFIT DAMAGES - PUBLIC
   REDACTED VERSION to be filed via the Court’s ECF system, which will provide electronic
   notification of filing to the following counsel for Plaintiff:

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